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                   EXHIBIT 1
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                                                                     Page 1
UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
------------------------X

IN THE MATTER OF:

ORACLE, INC. et al

Petitioner,
Docket No.:
    -cv00106LRHPAL
Vs.

RIMINI STREET, INC. et al

Respondent.

------------------------X

March 29, 2011

HELD AT:

BEFORE:                          HONORABLE PEGGY A. LEEN,
Judge

APPEARANCES:             GEOFFREY HOWARD, ESQ.
Attorney for the Petitioner
BINGHAM MCCUTCHEN
Three Embarcadero Center
San Francisco, CA 94111
415-393-2000


WEST ALLEN, ESQ.

Attorney for the Respondent

LEWIS AND ROCA

3993 Howard Hughes Pkwy, Suite 600

Las Vegas, NV 89169

702-949-8230



TRANSCRIBER:                 EMILY HOWARD
         Case 2:10-cv-00106-LRH-VCF Document 304-4 Filed 05/30/12 Page 3 of 56
                  OCEEDINGS
                                                 Page 22                                                        Page 24
 1   the scope of their proper license, they want to do         1   call that cross-using software improperly, but--but
 2   what they're allowed to do within the scope of that        2   really it's not. It's within the parameters of the
 3   proper license to ask somebody else to come and help       3   license doing what that consumer is entitled to do.
 4   them, what they would basically do themselves, if          4   And--and maybe the way for this case to get resolved
 5   they could, but they can't, don't have time, don't         5   is to just define--uh, Oracle can define and we can
 6   know how to do it, so they ask a third-party to come       6   all agree what's appropriate.
 7   in and do basically what they would like to do.            7               I think the concern in this case is that
 8               THE COURT: Hence the argument that what        8   Oracle's reporting to its shareholders, they want to
 9   your client is doing is perfectly lawful.                  9   do what they did with SAP, which is eliminate that
10               MR. ALLEN: That's true. But that goes         10   whole side industry and keep that for themselves.
11   right to the issue of how you grapple with all the        11   And of course they would want to do that. Um, all of
12   discovery that the Plaintiff would like to do--           12   us would if that's what we could do. But the real
13               THE COURT: [Interposing] And that's why I'm   13   issue is what this proper--
14   asking them is some bifurcation--does some                14               THE COURT: [Interposing] If it belongs to
15   bifurcation make sense? Can you limit--can you agree      15   them, they can and if it doesn't, they can't. I
16   upon a statement of facts? They want to know the          16   mean…
17   universe of what it is that you're doing before they      17               MR. ALLEN: That's right. And consumers, we
18   bite into--                                               18   believe, have a right to have a third party come in,
19               MR. ALLEN: [Interposing] Well, I think Your   19   within the proper scope of their license, fix and
20   Honor made an excellent starting suggestion, which is     20   make updates and do repairs--
21   let's look at this issue of licensing, because the        21               THE COURT: [Interposing] Right. So is the
22   way I viewed the client's - - this case just less         22   issue resolvable as a matter of law and a reasonable
23   than a day or two ago, is that the first question         23   amount of discovery, Mr. Allen? That's what I asked
24   everyone, uh, asked is are these consumers allowed to     24   the Plaintiff, I hope, in plain English, without
25   do, within the scope of their licenses, what they're      25   going through the massive project that this is.
                                                 Page 23                                                        Page 25
 1   asking Rimini to do?                                       1   Would you agree--can you agree with the Plaintiff on
 2              And I just heard the issue of cross, uh--or     2   what a representative sample of the discovery is to
 3   using, uh, software for things they're not supposed        3   present the issue to a judge to get a decision as a
 4   to do. From what I've seen at Rimini, all they ever        4   matter of law and what it is that you are doing?
 5   do is exactly what the consumer could do. And to the       5               First, can you agree on what you're doing?
 6   extent that Oracle's worried about cross-using of          6   And two, can you, uh, agree, uh, on whether, uh,
 7   licenses, they are meticulous--and this is why it's        7   there's a--a small enough universe of licenses that
 8   not like the SAP case--they are meticulous at making       8   are involved? And three, can you frame the issue for
 9   sure--                                                     9   dispositive motion practice?
10              THE COURT: [Interposing] They think your       10               MR. ALLEN: I would say on behalf of Rimini,
11   client has, uh, erased data that makes it difficult       11   yes. In fact, that's one of the reasons we were here
12   to trace exactly what you've done, that you've            12   today, to make sure that that's what happens, as
13   deleted data.                                             13   opposed to what I perceive has happened, is Oracle
14              MR. ALLEN: From what I've seen so far, this    14   thought this might be just SAP Case II. They came in
15   client is very meticulous about making sure that they     15   and realize that it was not, because this company is
16   do exactly what that consumer has a license to do.        16   very meticulous in making sure that they do only what
17   And to the extent they might, uh, create economies of     17   that licensee can do.
18   scale by taking what Consumer A can do and it's           18               And so what's happened, in my view so far,
19   exactly what Consumer B can do, they may create           19   is that Oracle now realizes we don't have the massive
20   economies of scale doing the exact same thing for         20   what they would deem as fraud or improper conduct.
21   Consumer B within the parameters and the scope of the     21   What we might have, if we can get enough samples, is
22   license that Consumer B's allowed to do, which            22   individual episodes of maybe a little error here, a
23   matches what Consumer A did.                              23   little error there and couple those all together and
24              THE COURT: And what is--                       24   be able to show this horrible story.
25              MR. ALLEN: [Interposing] Now they want to      25               But what the truth is is we're here because

                                                                                          7 (Pages 22 to 25)
          Case 2:10-cv-00106-LRH-VCF Document 304-4 Filed 05/30/12 Page 4 of 56
                     OCEEDINGS
                                                      Page 46
 1   of any depth. At least, it is for me.
 2             So we'll see you back, see if we have, uh,
 3   some, um, substantial progress and if we have a
 4   proposal for, uh, trimming this down into more
 5   manageable parts. And if not, that's what I get paid
 6   the big bucks to decide, so…[laughter] Thank you for
 7   appearing here, counsel. Good day.
 8             MR. HOWARD: Thank you, Your Honor.
 9             MR. MILLER: All rise.
10              [END OF HEARING]
11
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22
23
24
25
                                                      Page 47
 1                CERTIFICATE
 2
 3
 4   I, Emily Howard certify that the foregoing transcript of
 5
     proceedings in the United States District Court of Nevada:
 6
 7   Oracle Inc. et al v Rimini Street, Inc. et al Docket No.
 8
       -cv00106LRHPAL was prepared using the required
 9
10   transcription equipment and is a true and accurate record
11
     of the proceedings.
12
13
14
15
     Signature:
16
17   Date: April 8, 2011
18
19
20
21
22
23
24
25

                                                                  13 (Pages 46 to 47)
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                   EXHIBIT 2
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                                                                                    Page 1
 1           UNITED STATES DISTRICT COURT

 2        DISTRICT OF NEVADA (Las Vegas)

 3      _________________________________________

 4      In the matter of:

 5      ORACLE USA, INC., a Colorado corporation;

 6      ORACLE AMERICA, INC., a Delaware Corporation;

 7      and ORACLE INTERNATIONAL CORPORATION,

 8      a California corporation,

 9                      Plaintiffs,                       Case No. 2:10-cv-0106-LRH-PAL

10      v.

11
12      RIMINI STREET, INC., a Nevada corporation; and

13      SETH RAVIN, an individual,

14                      Defendants.

15      __________________________________________

16
17                      Lloyd D. George U.S. Courthouse

18                      333 Las Vegas Blvd. South

19                      Las Vegas, NV

20                      November 8, 2011

21                      9:00 AM

22
23      B E F O R E:

24      HON. MAGISTRATE PEGGY A. LEEN

25      DISTRICT COURT JUDGE

                            Veritext National Deposition & Litigation Services
                                              866 299-5127
Case 2:10-cv-00106-LRH-VCF Document 304-4 Filed 05/30/12 Page 7 of 56



 1     corporation that has superior knowledge         1      relevant. They were not disclosed as a
 2     to Ms. Williams about this issue?               2      source of information. We found them by
 3        MR. RECKERS: No. And so that's one           3      asking questions in depositions and then
 4     of the reasons we put it in our brief.          4      by finding a remnant of a file in a
 5     And the deposition transcript just went         5      personal virtual machine from one of our
 6     final. So I think that with her                 6      witnesses that was the menu for the
 7     testimony -- she was deposed, obviously,        7      SharePoint system. And it was revelatory
 8     on this important issue at some length.         8      because what it shows is links between
 9        THE COURT: You're telling me that            9      the different materials that are on there
10     this is the best answer that your              10      that are the specific materials that are
11     corporation can provide because she is         11      central to the case. The software copies
12     the most knowledgeable person and she has      12      that they have, the way that they label
13     what level of detail the corporation has.      13      those, the way that they bring them up.
14        MR. RECKERS: Absolutely.                    14      Exhibit R, to my -- to the Howard
15        THE COURT: And you're bound by              15      declaration, is one of the exhibits that
16     that.                                          16      we used in that deposition. It was Mr.
17        MR. RECKERS: Yes, Your Honor.               17      Conway's (ph.) deposition.
18        THE COURT: And you're not going to          18         So there is an important category of
19     claim that she's incorrect?                    19      information that you can only have, and
20        MR. RECKERS: If we -- we're going           20      our experts can only have, by seeing the
21     to put the citations down and we're going      21      interrelationship that is revealed
22     to review the citations and put the ones       22      through the dynamic system that is
23     down that the corporation was bound by.        23      SharePoint, how it's used, how they're
24     And as I stand here today, my general          24      brought out, how they're labeled, what
25     understanding is that she's correct and        25      they mean. That's how they use the
                                          Page 18                                                Page 20

 1     that is the corporation's answers to            1     software.
 2     these questions.                                2        What we do have as a result,
 3        THE COURT: And how soon are you              3     violates Rule 34 both because it doesn't
 4     going to be in a position to supplement         4     reveal those characteristics of the data
 5     your response with her testimony that's         5     as they exist in the --
 6     now the corporation's answer?                   6        THE COURT: But you've reached an
 7        MR. RECKERS: It certainly can be             7     agreement to the beginning of this case
 8     served within the next ten days.                8     about what you were going to do and if
 9        THE COURT: Thank you. Oracle's               9     what you got in response to the
10     motion to compel omitted responses to          10     electronic request for data was
11     interrogatories number 24 and 25 is            11     inadequate. And you have a procedure in
12     granted to the extent that Rimini shall        12     place and you've been operating under
13     supplement answers to Interrogatory            13     that procedure in place to request native
14     number 24 and 25 with the information          14     information for files in which you agree
15     provided with Ms. Williams clarifying          15     the .tif version of it is inadequate for
16     that it is the corporation's response and      16     purposes. So how are they violating any
17     within fourteen days of today's date and       17     rule when you reached an agreement about
18     denied in all other respects.                  18     we're going to do it this way at first
19        I'll hear from you on your motion to        19     and then if you need something else, let
20     compel "Read-Only" access to Rimini's          20     us know and we'll talk about it and
21     SharePoint internet.                           21     provide it if we think that's reasonable.
22        MR. HOWARD: Thank you, Your Honor.          22        MR. HOWARD: Yeah. And I think that
23     Geoff Howard. With respect to the              23     is all right and true as far as it goes
24     SharePoint materials, I don't think            24     and it applies and the parties have been
25     there's any dispute that t they are            25     operating under that quite well with
                                            Page 19                                               Page 21

                                                                               Pages 18 to 21
                         Veritext National Deposition & Litigation Services
                                           866 299-5127
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 1                                                    1
 2                INDEX                               2            CERTIFICATION
 3                                                    3
 4             RULINGS                                4        I, Lisa Bar-Leib, hereby certify that the
 5                                                    5     foregoing is a true and correct transcription, to
 6   DESCRIPTION                        PAGE LINE     6     the best of my ability, of the sound recorded
 7   Plaintiffs' request to compel       19 17        7     proceedings submitted for transcription.
 8   amended responses to interrogatories             8
 9   #24 and #25 GRANTED to the extent                9        I further certify that I am not employed by
10   defendant shall supplement answers to           10     nor related to any party to this action.
11   interrogatories with information                11
12   provided by Ms. Williams clarifying that        12       In witness whereof, I hereby sign this date:
13   it is corporation's response within             13     November 14, 2011.
14   14 days of this date's hearing and              14
15   DENIED in all other respects                    15
16                                                   16
17   Plaintiffs' request to compel      29   21      17
18   read-only access DENIED and                     18     _________________________________
19   plaintiffs' counsel shall be                    19        LISA BAR-LEIB
20   required to request on an                       20        AAERT Certified Transcriber (CET**D-486)
21   individual basis type of information            21
22   and level of detail that they                   22
23   are seeking                                     23
24                                                   24
25                                                   25
                                         Page 46                                                   Page 48

 1
 2       I N D E X, cont'd
 3
 4       RULINGS
 5
 6   DESCRIPTION                        PAGE LINE
 7   Court will GRANT plaintiff up to 2 34      4
 8   days to conduct deposition of Mr.
 9   Ravin subject to defense counsel's
10   belief that plaintiff will conduct
11   examination that is reasonable and
12   not meant to harass witness in any
13   way in which case defense may seek
14   remedies under Rule 30(d)
15
16   Defendants' request for clarification 37 20
17   concerning pretrial depositions is
18   such that no additional depositions
19   are permitted after conclusion of
20   discovery, after dispositive motions
21   have been ruled on and after joint
22   pretrial order was filed without
23   strong showing of good cause that
24   defendants could not have anticipated
25   parties named as trial witnesses
                                          Page 47

                                                                                  Pages 46 to 48
                          Veritext National Deposition & Litigation Services
                                            866 299-5127
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                   EXHIBIT 3
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                    EXHIBIT 4
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14

15
                                    UNITED STATES DISTRICT COURT
16                                       DISTRICT OF NEVADA

17   ORACLE USA, INC., a Colorado corporation;
     ORACLE AMERICA, INC., a Delaware
18   corporation; and ORACLE INTERNATIONAL
     CORPORATION, a California corporation,
19
                                                           Case No. 2:10-cv-0106-LRH-PAL
20   Plaintiffs,
                                                             DEFENDANT RIMINI STREET INC.’S
21   v.                                                          SECOND SUPPLEMENTAL
                                                                RESPONSES TO PLAINTIFFS’
22   RIMINI STREET, INC. , a Nevada corporation;
                                                             INTERROGATORIES NOS. 24 AND 25
     SETH RAVIN, an individual,
23
     Defendants.
24

25

26           Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Rimini Street, Inc.
27   (“Rimini Street”) provides the following responses to Oracle USA, Inc., Oracle America, Inc., and
28   Oracle International Corp.’s (“Oracle” or “Plaintiff”) Fifth Set of Interrogatories.
          RIMINI’S SECOND SUPPLEMENTAL RESPONSES TO ORACLE’S INTERROGATORIES NOS. 24 AND 25
     342490 v1
     Case 2:10-cv-00106-LRH-VCF Document 304-4 Filed 05/30/12 Page 19 of 56




 1                                        GENERAL OBJECTIONS
 2           Rimini Street incorporates its prior General and Specific Objections, stated in Rimini
 3   Street’s Objections and Responses to Plaintiffs’ First Set of Interrogatories, which were served on
 4   June 1, 2010, and in Rimini Streets Objections and Responses to Plaintiffs’ Fifth Set of
 5   Interrogatories, which were served on July 11, 2011.
 6

 7                             RESPONSES AND SPECIFIC OBJECTIONS
 8       INTERROGATORY NO. 24:
 9           Identify every copy of any Software and Support Material that is or has at any time been
10   stored at each Non-Customer Location, and the Non-Customer location where it was stored. If any
11   Non-Customer Locations have existed for which you cannot identify any particular Software and
12   Support Material stored at that location, Identify each such Non-Customer Location.
13           ORIGINAL ANSWER (July 11, 2011):
14           Rimini Street objects to this Interrogatory as overly broad and unduly burdensome to the
15   extent it seeks information for “any” materials that “is or has at any time” stored in the various
16   identified locations. Rimini Street objects to this interrogatory to the extent it seeks information that
17   is not within the possession, custody, or control of Rimini Street. Rimini Street objects to the term
18   “Non-Customer Location,” and Oracle’s definition of this term, as vague, ambiguous, overbroad and
19   unduly burdensome. Accordingly, and without conceding that Oracle’s Specified Locations meet
20   Oracle’s definition of Non-Customer Locations, Rimini will provide an answer for the Oracle
21   Specified Locations. Rimini Street further objects to this interrogatory on the grounds that it would
22   require Rimini Street to create a compilation, abstract, or summary from documents that Rimini
23   Street has produced or will produce to Plaintiffs.
24           Subject to and without waiver of the foregoing general and specific objections, Rimini Street
25   responds as follows:
26

27

28
                                              -2-
        RIMINI’S SECOND SUPPLEMENTAL RESPONSES TO ORACLE’S INTERROGATORIES NOS. 24 AND 25
     342490 v1
     Case 2:10-cv-00106-LRH-VCF Document 304-4 Filed 05/30/12 Page 20 of 56




 1           Rimini responds that, pursuant to Federal Rule of Civil Procedure 33(d), Rimini has

 2   produced and/or will produce documents from which the answer to this Interrogatory can be

 3   ascertained, including but not limited to the following:

 4           Exhibit 3, which lists Bates-numbers for documents regarding the Oracle Specified

 5   Locations. More specifically, the documents identified by Exhibit 3 indicate the contents of the

 6   Oracle Specified Locations, as well as use of such information.

 7           FIRST SUPPLEMENTAL ANSWER (September 8, 2011):

 8           Rimini Street objects to this Interrogatory as overly broad and unduly burdensome to the
 9   extent it seeks information for “any” materials that “is or has at any time” stored in the various
10   identified locations. Rimini Street objects to this interrogatory to the extent it seeks information that
11   is not within the possession, custody, or control of Rimini Street. Rimini Street objects to the term
12   “Non-Customer Location,” and Oracle’s definition of this term, as vague, ambiguous, overbroad and
13   unduly burdensome. Accordingly, and without conceding that Oracle’s Specified Locations meet
14   Oracle’s definition of Non-Customer Locations, Rimini will provide an answer for the Oracle
15   Specified Locations. Rimini will further provide an answer with respect to network and local
16   computer locations that, at any time, were intended for use, or were regularly used as, repositories of
17   Oracle Software and Support Materials that are not associated with a specific customer. Rimini
18   Street further objects to this interrogatory on the grounds that it would require Rimini Street to create
19   a compilation, abstract, or summary from documents that Rimini Street has produced or will produce
20   to Plaintiffs.
21           Subject to and without waiver of the foregoing general and specific objections, Rimini Street
22   further responds as follows:
23           Rimini identifies the following as locations that currently or at one time included Oracle
24   Software and Support Materials:
25           \\rsi-clsvr01\client_software\PeopleSoft;
26           \\rsi-clsvr01\internal_software;
27           \\rsi-data01\share\client_archives\_ftp.peoplesoft.com;
28
                                              -3-
        RIMINI’S SECOND SUPPLEMENTAL RESPONSES TO ORACLE’S INTERROGATORIES NOS. 24 AND 25
     342490 v1
     Case 2:10-cv-00106-LRH-VCF Document 304-4 Filed 05/30/12 Page 21 of 56




 1           \\rsi-data01\share\software\oracle;

 2           \\rsi-data01\share\software\PeopleSoft;

 3           \\rsi-clsvr01\fileshare\software\Peoplesoft;

 4           \\rsi-clsvr01\client_software\For Development Use Only; and

 5           \\rsi-clsvr03\d01\install.

 6           The location \\rsi-clsvr01\client_software\PeopleSoft has included materials relating to

 7   PeopleSoft software. In the past, certain materials at this location may have been used in building

 8   environments for a particular client after Rimini verified that the particular client was entitled to

 9   these certain materials.

10           The location \\rsi-clsvr01\internal_software was a parent directory with subdirectories that

11   have included installation materials relating to PeopleSoft software and Oracle Database software. In

12   the past, certain materials at this location may have been used in building environments for a

13   particular client after Rimini verified that the particular client was entitled to these certain materials.

14           The location \\rsi-clsvr03\d01\install has included Software and Support Materials. In the

15   past, certain materials at this location may have been used in building environments for a particular

16   client after Rimini verified that the particular client was entitled to these certain materials.

17           The location \\rsi-data01\share\client_archives\_ftp.peoplesoft.com has included materials

18   obtained from PeopleSoft’s FTP website. This location was, at one time, intended to be used as a

19   repository for materials for clients that had the right to access such materials through PeopleSoft’s

20   FTP site.

21           The location \\rsi-data01\share\software\oracle has included materials relating to Oracle

22   Database software.

23           The location \\rsi-data01\share\software\PeopleSoft has included materials relating to

24   PeopleSoft software.

25           The location \\rsi-clsvr01\client_software\For Development Use Only has included materials

26   relating to Oracle Software and Support Materials. Oracle has had access to this location via VPN

27   for some time.

28
                                              -4-
        RIMINI’S SECOND SUPPLEMENTAL RESPONSES TO ORACLE’S INTERROGATORIES NOS. 24 AND 25
     342490 v1
     Case 2:10-cv-00106-LRH-VCF Document 304-4 Filed 05/30/12 Page 22 of 56




 1           The      address   \\rsi-clsvr01\fileshare\software\Peoplesoft   provides   a   link   to   \\rsi-

 2   clsvr01\client_software\PeopleSoft, which may include Software and Support materials and

 3   described above. Additionally, the address 10.12.1.5 is the IP Address for \\rsi-clsvr01, which may

 4   include Software and Support materials as described above. Rimini further responds that, pursuant to

 5   Federal Rule of Civil Procedure 33(d), Rimini has produced and/or will produce documents from

 6   which the answer to this Interrogatory can be ascertained, including but not limited to the following:

 7           Exhibit 3-1, which lists Bates-numbers for documents regarding the Oracle Specified

 8   Locations. More specifically, the documents identified by Exhibit 3-1 indicate the contents of the

 9   Oracle Specified Locations, as well as use of such information.

10           The documents spanning Bates-range RSI02971994-2158, which are Build Requests that

11   may indicate the sources for environment builds.

12           SECOND SUPPLEMENTAL ANSWER (November 22, 2011):

13           Rimini Street objects to this Interrogatory as overly broad and unduly burdensome to the
14   extent it seeks information for “any” materials that “is or has at any time” stored in the various
15   identified locations. Rimini Street objects to this interrogatory to the extent it seeks information that
16   is not within the possession, custody, or control of Rimini Street. Rimini Street objects to the term
17   “Non-Customer Location,” and Oracle’s definition of this term, as vague, ambiguous, overbroad and
18   unduly burdensome. Accordingly, and without conceding that Oracle’s Specified Locations meet
19   Oracle’s definition of Non-Customer Locations, Rimini will provide an answer for the Oracle
20   Specified Locations. Rimini will further provide an answer with respect to network and local
21   computer locations that, at any time, were intended for use, or were regularly used as, repositories of
22   Oracle Software and Support Materials that are not associated with a specific customer. Rimini
23   Street further objects to this interrogatory on the grounds that it would require Rimini Street to create
24   a compilation, abstract, or summary from documents that Rimini Street has produced or will produce
25   to Plaintiffs.
26           Subject to and without waiver of the foregoing general and specific objections, Rimini Street
27   further responds as follows:
28
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        RIMINI’S SECOND SUPPLEMENTAL RESPONSES TO ORACLE’S INTERROGATORIES NOS. 24 AND 25
     342490 v1
     Case 2:10-cv-00106-LRH-VCF Document 304-4 Filed 05/30/12 Page 23 of 56




 1           Rimini identifies the following as locations that currently or at one time included Oracle

 2   Software and Support Materials:

 3           \\rsi-clsvr01\client_software\PeopleSoft;

 4           \\rsi-clsvr01\internal_software;

 5           \\rsi-data01\share\client_archives\_ftp.peoplesoft.com;

 6           \\rsi-data01\share\software\oracle;

 7           \\rsi-data01\share\software\PeopleSoft;

 8           \\rsi-clsvr01\fileshare\software\Peoplesoft;

 9           \\rsi-clsvr01\client_software\For Development Use Only; and

10           \\rsi-clsvr03\d01\install.

11           The location \\rsi-clsvr01\client_software\PeopleSoft has included materials relating to

12   PeopleSoft software. In the past, certain materials at this location may have been used in building

13   environments for a particular client after Rimini verified that the particular client was entitled to

14   these certain materials.

15           The location \\rsi-clsvr01\internal_software was a parent directory with subdirectories that

16   have included installation materials relating to PeopleSoft software and Oracle Database software. In

17   the past, certain materials at this location may have been used in building environments for a

18   particular client after Rimini verified that the particular client was entitled to these certain materials.

19           The location \\rsi-clsvr03\d01\install has included Software and Support Materials. In the

20   past, certain materials at this location may have been used in building environments for a particular

21   client after Rimini verified that the particular client was entitled to these certain materials.

22           The location \\rsi-data01\share\client_archives\_ftp.peoplesoft.com has included materials

23   obtained from PeopleSoft’s FTP website. This location was, at one time, intended to be used as a

24   repository for materials for clients that had the right to access such materials through PeopleSoft’s

25   FTP site.

26           The location \\rsi-data01\share\software\oracle has included materials relating to Oracle

27   Database software.

28
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        RIMINI’S SECOND SUPPLEMENTAL RESPONSES TO ORACLE’S INTERROGATORIES NOS. 24 AND 25
     342490 v1
     Case 2:10-cv-00106-LRH-VCF Document 304-4 Filed 05/30/12 Page 24 of 56




 1           The location \\rsi-data01\share\software\PeopleSoft has included materials relating to

 2   PeopleSoft software.

 3           The location \\rsi-clsvr01\client_software\For Development Use Only has included materials

 4   relating to Oracle Software and Support Materials. Oracle has had access to this location via VPN

 5   for some time.

 6           The   address    \\rsi-clsvr01\fileshare\software\Peoplesoft   provides   a   link   to   \\rsi-

 7   clsvr01\client_software\PeopleSoft, which may include Software and Support materials and

 8   described above. Additionally, the address 10.12.1.5 is the IP Address for \\rsi-clsvr01, which may

 9   include Software and Support materials as described above.

10           The testimony from the October 5, 2011 deposition of Krista Williams at 24:24-26:14, 27:7-

11   28:2, 28:14-30:6, 32:1-33:19, 36:5-39:21, 45:19-46:5, 54:3-54:25, 56:18-57:18, 58:13-59:18, 60:9-

12   62:5, 63:4-63:17, and 190:1-190:21.

13           Rimini further responds that, pursuant to Federal Rule of Civil Procedure 33(d), Rimini has

14   produced and/or will produce documents from which the answer to this Interrogatory can be

15   ascertained, including but not limited to the following:

16           Exhibit 3-1, which lists Bates-numbers for documents regarding the Oracle Specified

17   Locations. More specifically, the documents identified by Exhibit 3-1 indicate the contents of the

18   Oracle Specified Locations, as well as use of such information.

19           The documents spanning Bates-range RSI02971994-2158, which are Build Requests that

20   may indicate the sources for environment builds.

21           INTERROGATORY NO. 25:

22           For every copy of Software and Support Materials identified in your Response to
23   Interrogatory No. 24, describe each instance in which the copy of Software and Support Materials
24   was copied or used for a customer other than the specific customer, if any, from which or on whose
25   behalf You claim to have obtained the Software and Support Materials that was copied or used. If
26   you do not claim to have obtained a copy of Software and Support Materials indentified in your
27

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        RIMINI’S SECOND SUPPLEMENTAL RESPONSES TO ORACLE’S INTERROGATORIES NOS. 24 AND 25
     342490 v1
     Case 2:10-cv-00106-LRH-VCF Document 304-4 Filed 05/30/12 Page 25 of 56




 1   Response to Interrogatory No. 24 from or on behalf of a specific customer, describe each instance in

 2   which that copy of Software and Support Materials was copied or used.

 3           ORIGINAL ANSWER (July 11, 2011):

 4           Rimini Street objects to this Interrogatory as overly broad and unduly burdensome. Rimini
 5   Street objects to this interrogatory to the extent it seeks information that is not within the possession,
 6   custody, or control of Rimini Street. Rimini Street objects to the phrases “Non-Customer Location,”
 7   and “used for a customer other than the specific customer” on the grounds and to the extent they are
 8   vague and ambiguous. Rimini Street further objects to this interrogatory on the grounds that it
 9   would require Rimini Street to create a compilation, abstract, or summary from documents that
10   Rimini Street has produced or will produce to Plaintiffs.
11           Subject to and without waiver of the foregoing general and specific objections, Rimini Street
12   responds as follows:
13           Rimini further responds that, pursuant to Federal Rule of Civil Procedure 33(d), Rimini has
14   produced and/or will produce documents from which the answer to this Interrogatory can be
15   ascertained, including but not limited to the following:
16           Exhibit 3, which lists Bates-numbers for documents regarding the Oracle Specified
17   Locations. More specifically, the documents identified by Exhibit 3 indicate the contents of the
18   Oracle Specified Locations, as well as use of such information.
19           FIRST SUPPLEMENTAL ANSWER (September 8, 2011):
20           Rimini Street objects to this Interrogatory as overly broad and unduly burdensome. Rimini
21   Street objects to this interrogatory to the extent it seeks information that is not within the possession,
22   custody, or control of Rimini Street. Rimini Street objects to the phrases “Non-Customer Location,”
23   and “used for a customer other than the specific customer” on the grounds and to the extent they are
24   vague and ambiguous. Rimini will further provide an answer with respect to network and local
25   computer locations that, at any time, were intended for use, or were regularly used as, repositories of
26   Oracle Software and Support Materials that are not associated with a specific customer. Rimini
27   Street further objects to this interrogatory on the grounds that it would require Rimini Street to create
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        RIMINI’S SECOND SUPPLEMENTAL RESPONSES TO ORACLE’S INTERROGATORIES NOS. 24 AND 25
     342490 v1
     Case 2:10-cv-00106-LRH-VCF Document 304-4 Filed 05/30/12 Page 26 of 56




 1   a compilation, abstract, or summary from documents that Rimini Street has produced or will produce

 2   to Plaintiffs.

 3           Subject to and without waiver of the foregoing general and specific objections, Rimini Street

 4   further responds as follows:

 5           Rimini identifies the following as locations that currently or at one time included Oracle

 6   Software and Support Materials:

 7           \\rsi-clsvr01\client_software\PeopleSoft;

 8           \\rsi-clsvr01\internal_software;

 9           \\rsi-data01\share\client_archives\_ftp.peoplesoft.com;

10           \\rsi-data01\share\software\oracle;

11           \\rsi-data01\share\software\PeopleSoft;

12           \\rsi-clsvr01\fileshare\software\Peoplesoft;

13           \\rsi-clsvr01\client_software\For Development Use Only; and

14           \\rsi-clsvr03\d01\install.

15           The location \\rsi-clsvr01\client_software\PeopleSoft has included materials relating to

16   PeopleSoft software. In the past, certain materials at this location may have been used in building

17   environments for a particular client after Rimini verified that the particular client was entitled to

18   these certain materials.

19           The location \\rsi-clsvr01\internal_software was a parent directory with subdirectories that

20   have included installation materials relating to PeopleSoft software and Oracle Database software. In

21   the past, certain materials at this location may have been used in building environments for a

22   particular client after Rimini verified that the particular client was entitled to these certain materials.

23           The location \\rsi-clsvr03\d01\install has included Software and Support Materials. In the

24   past, certain materials at this location may have been used in building environments for a particular

25   client after Rimini verified that the particular client was entitled to these certain materials.

26           The location \\rsi-data01\share\client_archives\_ftp.peoplesoft.com has included materials

27   obtained from PeopleSoft’s FTP website. This location was, at one time, intended to be used as a

28
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        RIMINI’S SECOND SUPPLEMENTAL RESPONSES TO ORACLE’S INTERROGATORIES NOS. 24 AND 25
     342490 v1
     Case 2:10-cv-00106-LRH-VCF Document 304-4 Filed 05/30/12 Page 27 of 56




 1   repository for materials for clients that had the right to access such materials through PeopleSoft’s

 2   FTP site.

 3           The location \\rsi-data01\share\software\oracle has included materials relating to Oracle

 4   Database software.

 5           The location \\rsi-data01\share\software\PeopleSoft has included materials relating to

 6   PeopleSoft software.

 7           The location \\rsi-clsvr01\client_software\For Development Use Only has included materials

 8   relating to Oracle Software and Support Materials. Oracle has had access to this location via VPN

 9   for some time.

10           The   address    \\rsi-clsvr01\fileshare\software\Peoplesoft    provides    a   link   to    \\rsi-

11   clsvr01\client_software\PeopleSoft, which may include Software and Support materials and

12   described above. Additionally, the address 10.12.1.5 is the IP Address for \\rsi-clsvr01, which may

13   include Software and Support materials as described above.

14           Rimini further responds that, pursuant to Federal Rule of Civil Procedure 33(d), Rimini has

15   produced and/or will produce documents from which the answer to this Interrogatory can be

16   ascertained, including but not limited to the following:

17           Exhibit 3-1, which lists Bates-numbers for documents regarding the Oracle Specified

18   Locations. More specifically, the documents identified by Exhibit 3-1 indicate the contents of the

19   Oracle Specified Locations, as well as use of such information.

20           The documents spanning Bates-range RSI02971994-2158, which are Build Requests that

21   may indicate the sources for environment builds.

22           SECOND SUPPLEMENTAL ANSWER (November 22, 2011):

23           Rimini Street objects to this Interrogatory as overly broad and unduly burdensome. Rimini
24   Street objects to this interrogatory to the extent it seeks information that is not within the possession,
25   custody, or control of Rimini Street. Rimini Street objects to the phrases “Non-Customer Location,”
26   and “used for a customer other than the specific customer” on the grounds and to the extent they are
27   vague and ambiguous. Rimini will further provide an answer with respect to network and local
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        RIMINI’S SECOND SUPPLEMENTAL RESPONSES TO ORACLE’S INTERROGATORIES NOS. 24 AND 25
     342490 v1
     Case 2:10-cv-00106-LRH-VCF Document 304-4 Filed 05/30/12 Page 28 of 56




 1   computer locations that, at any time, were intended for use, or were regularly used as, repositories of

 2   Oracle Software and Support Materials that are not associated with a specific customer. Rimini

 3   Street further objects to this interrogatory on the grounds that it would require Rimini Street to create

 4   a compilation, abstract, or summary from documents that Rimini Street has produced or will produce

 5   to Plaintiffs.

 6           Subject to and without waiver of the foregoing general and specific objections, Rimini Street

 7   further responds as follows:

 8           Rimini identifies the following as locations that currently or at one time included Oracle

 9   Software and Support Materials:

10           \\rsi-clsvr01\client_software\PeopleSoft;

11           \\rsi-clsvr01\internal_software;

12           \\rsi-data01\share\client_archives\_ftp.peoplesoft.com;

13           \\rsi-data01\share\software\oracle;

14           \\rsi-data01\share\software\PeopleSoft;

15           \\rsi-clsvr01\fileshare\software\Peoplesoft;

16           \\rsi-clsvr01\client_software\For Development Use Only; and

17           \\rsi-clsvr03\d01\install.

18           The location \\rsi-clsvr01\client_software\PeopleSoft has included materials relating to

19   PeopleSoft software. In the past, certain materials at this location may have been used in building

20   environments for a particular client after Rimini verified that the particular client was entitled to

21   these certain materials.

22           The location \\rsi-clsvr01\internal_software was a parent directory with subdirectories that

23   have included installation materials relating to PeopleSoft software and Oracle Database software. In

24   the past, certain materials at this location may have been used in building environments for a

25   particular client after Rimini verified that the particular client was entitled to these certain materials.

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        RIMINI’S SECOND SUPPLEMENTAL RESPONSES TO ORACLE’S INTERROGATORIES NOS. 24 AND 25
     342490 v1
     Case 2:10-cv-00106-LRH-VCF Document 304-4 Filed 05/30/12 Page 29 of 56




 1           The location \\rsi-clsvr03\d01\install has included Software and Support Materials. In the

 2   past, certain materials at this location may have been used in building environments for a particular

 3   client after Rimini verified that the particular client was entitled to these certain materials.

 4           The location \\rsi-data01\share\client_archives\_ftp.peoplesoft.com has included materials

 5   obtained from PeopleSoft’s FTP website. This location was, at one time, intended to be used as a

 6   repository for materials for clients that had the right to access such materials through PeopleSoft’s

 7   FTP site.

 8           The location \\rsi-data01\share\software\oracle has included materials relating to Oracle

 9   Database software.

10           The location \\rsi-data01\share\software\PeopleSoft has included materials relating to

11   PeopleSoft software.

12           The location \\rsi-clsvr01\client_software\For Development Use Only has included materials

13   relating to Oracle Software and Support Materials. Oracle has had access to this location via VPN

14   for some time.

15           The    address    \\rsi-clsvr01\fileshare\software\Peoplesoft     provides    a   link     to   \\rsi-

16   clsvr01\client_software\PeopleSoft, which may include Software and Support materials and

17   described above. Additionally, the address 10.12.1.5 is the IP Address for \\rsi-clsvr01, which may

18   include Software and Support materials as described above.

19           The testimony from the October 5, 2011 deposition of Krista Williams at 24:24-26:14, 27:7-

20   28:2, 28:14-30:6, 32:1-33:19, 36:5-39:21, 45:19-46:5, 54:3-54:25, 56:18-57:18, 58:13-59:18, 60:9-

21   62:5, 63:4-63:17, and 190:1-190:21.

22           Rimini further responds that, pursuant to Federal Rule of Civil Procedure 33(d), Rimini has

23   produced and/or will produce documents from which the answer to this Interrogatory can be

24   ascertained, including but not limited to the following:

25           Exhibit 3-1, which lists Bates-numbers for documents regarding the Oracle Specified

26   Locations. More specifically, the documents identified by Exhibit 3-1 indicate the contents of the

27   Oracle Specified Locations, as well as use of such information.

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        RIMINI’S SECOND SUPPLEMENTAL RESPONSES TO ORACLE’S INTERROGATORIES NOS. 24 AND 25
     342490 v1
     Case 2:10-cv-00106-LRH-VCF Document 304-4 Filed 05/30/12 Page 30 of 56




 1           The documents spanning Bates-range RSI02971994-2158, which are Build Requests that

 2   may indicate the sources for environment builds.

 3

 4

 5   Dated: November 22, 2011

 6                                               /s/ Robert H. Reckers
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 8                                               Eric Buresh, Esq.
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                                                 Facsimile: (731) 227-9508
15
                                                 rreckers@shb.com
16

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        RIMINI’S SECOND SUPPLEMENTAL RESPONSES TO ORACLE’S INTERROGATORIES NOS. 24 AND 25
     342490 v1
     Case 2:10-cv-00106-LRH-VCF Document 304-4 Filed 05/30/12 Page 31 of 56




 1

 2

 3
                                     CERTIFICATE OF SERVICE
 4
             I hereby certify that the foregoing was served on the November 22, 2011 via email, as
 5
     indicated below.
 6

 7   BOIES, SCHILLER & FLEXNER LLP                   BINGHAM MCCUTCHEN LLP
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18                                                   jim.maroulis@oracle.com
19

20                                            By:    _/s/ Robert H. Reckers _______
                                                      Robert H. Reckers.
21

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        RIMINI’S SECOND SUPPLEMENTAL RESPONSES TO ORACLE’S INTERROGATORIES NOS. 24 AND 25
     342490 v1
Case 2:10-cv-00106-LRH-VCF Document 304-4 Filed 05/30/12 Page 32 of 56




          EXHIBIT 5
      FILED UNDER SEAL
Case 2:10-cv-00106-LRH-VCF Document 304-4 Filed 05/30/12 Page 33 of 56




          EXHIBIT 6
      FILED UNDER SEAL
Case 2:10-cv-00106-LRH-VCF Document 304-4 Filed 05/30/12 Page 34 of 56




                    EXHIBIT 7
     Case 2:10-cv-00106-LRH-VCF Document 304-4 Filed 05/30/12 Page 35 of 56




 1   SHOOK, HARDY & BACON LLP                          GREENBERG TRAURIG
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13                                                     Attorneys for Defendants
                                                       RIMINI STREET, INC. and SETH RAVIN
14

15

16                                 UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA
17
     ORACLE USA, INC., a Colorado corporation;
18   ORACLE AMERICA, INC., a Delaware
     corporation; and ORACLE INTERNATIONAL
19   CORPORATION, a California corporation,                   Case No. 2:10-cv-0106-LRH-PAL
20   Plaintiffs,                                          DEFENDANT RIMINI STREET INC.’S
21                                                        SECOND AMENDED RESPONSES
     v.                                                   AND OBJECTIONS TO PLAINTIFFS’
22                                                        THIRD SET OF REQUESTS FOR
     RIMINI STREET, INC. , a Nevada corporation;          ADMISSIONS TO DEFENDANT
23   SETH RAVIN, an individual,                           RIMINI STREET, INC.
24   Defendants.
25           Pursuant to Federal Rules of Civil Procedure 26 and 36, Rimini Street, Inc. (“Rimini
26   Street”), by and through its undersigned counsel, responds to Oracle USA, Inc., Oracle America,
27   Inc., and Oracle International Corp.’s (“Oracle”) Third Set of Requests for Admissions
28   (“Requests”).

     352130 v1     DEFENDANT'S SECOND AMENDED RESPONSES AND OBJECTIONS TO PLAINTIFFS’ THIRD RFAs
     Case 2:10-cv-00106-LRH-VCF Document 304-4 Filed 05/30/12 Page 36 of 56




 1                                         GENERAL OBJECTIONS

 2                   The following General Objections shall be deemed incorporated into the objections

 3   and Responses to each and every specific Request for Admission. To the extent that specific

 4   General Objections are cited in a specific Response, those specific objections are provided because

 5   they are believed to be particularly applicable to the specific Request. If Rimini Street specifically

 6   refers to General Objections in a Response, Rimini Street does not intend to waive any other General

 7   Objection applicable to information falling within the scope of the Request.

 8                   1.      Rimini Street objects to Plaintiff’s Requests to the extent that Plaintiff seeks to

 9   require Rimini Street to provide any information beyond what is available to Rimini Street at present

10   from a reasonable search of its own files and a reasonable inquiry of its present employees likely to

11   have the information necessary to admit or deny these requests.

12                   2.      Rimini Street objects to Plaintiff’s Requests to the extent that Plaintiff seeks to

13   impose on Rimini Street any other obligation not imposed by the Federal Rules of Civil Procedure or

14   the Local Rules for the District of Nevada.

15                   3.      Rimini Street objects to the disclosure of information protected by the

16   attorney-client privilege and/or work-product immunity.

17                   4.      Rimini Street objects to Plaintiff’s Requests to the extent they call upon

18   Rimini Street to admit or deny information that is irrelevant to the subject matter of this action.

19   Rimini Street does not concede that any Request to which it responds is relevant to the subject

20   matter of this litigation.

21                   5.      Rimini Street objects to these Requests to the extent they contravene the

22   purposes underlying Federal Rule of Civil Procedure 36 to narrow the issues in this case and

23   facilitate proof with respect to issues that can be eliminated. By way of example and without

24   limitation, Rimini Street objects to these Requests to the extent they seek admissions related to

25   highly contested issues, rather than admissions related to non-contested issues that could narrow the

26   issues in this case. Rimini Street also objects to these Requests to the extent they seek admissions

27   related to unidentified materials, which would not facilitate proof relating to issues that can be
28   eliminated from this case.
                                                        -2-
     352130 v1    DEFENDANT'S SECOND AMENDED RESPONSES AND OBJECTIONS TO PLAINTIFFS’ THIRD RFAs
     Case 2:10-cv-00106-LRH-VCF Document 304-4 Filed 05/30/12 Page 37 of 56




 1                  6.      Rimini Street objects to these Requests to the extent they contain vague,

 2   ambiguous, and non-specific statements.

 3                  7.      Rimini Street objects to these Requests to the extent they cannot be admitted

 4   or denied without providing commentary.

 5                  8.      Rimini Street objects to the definition of the phrase “more than a de minimis

 6   or trivial amount of protectable expression” to the extent it seeks to incorporate legal conclusions.

 7                  9.      Rimini Street objects to the definitions of the terms “Complete or Partial

 8   Copy”, “Environment,” “Oracle Database Software,” “Oracle Enterprise Software,” and “Software

 9   and Support Materials” to the extent that, when read together, the definitions are convoluted and

10   circular.

11                  10.     Rimini objects to the definition of the terms “Internal Software Library” and

12   “Software Library” to the extent that the proffered definitions deviates from the plain and ordinary

13   meaning of the term “library” and to the extent that these terms imply a library of software for

14   general or generic use without regard to rights afforded to Rimini customers’ under their respective

15   license agreements with Oracle. Rimini further objects to the inclusion of the phase “related

16   materials” in the proffered definition of “Software Library” as vague and ambiguous.

17                  11.     Rimini objects to the definition of the term “Automated Downloading Tool”

18   as vague and ambiguous and to the extent that Oracle’s requests seek to imply that the tools used by

19   Rimini were prohibited by the terms of Oracle’s various website. As conventional Internet browsers

20   submit Internet download requests in what may be considered a “rapid, automated fashion,” it is

21   unclear what Internet communication software is excluded from Oracle’s definition. To respond,

22   Rimini construes Oracle’s proffered definition of “Automated Download Tools” to encompass tools

23   that utilized standard Internet browsers and applications to interact with websites, including such

24   Rimini-created tools listed by Oracle’s definition.

25                  12.     Rimini objects to Oracle’s Exhibit A and Oracle’s requests citing this exhibit

26   as overly broad and unduly burdensome. Rimini does not have reasonable means by which it can
27   verify the accuracy of the 88,730 files listed on the of the 1,699 pages of text found in Exhibit A,
28   and Oracle has declined to provide a declaration detailing how Exhibit A was created. Where
                                                       -3-
     352130 v1    DEFENDANT'S SECOND AMENDED RESPONSES AND OBJECTIONS TO PLAINTIFFS’ THIRD RFAs
     Case 2:10-cv-00106-LRH-VCF Document 304-4 Filed 05/30/12 Page 38 of 56




 1   possible, Rimini has attempted to respond based on Oracle’s representation that the files listed on

 2   Exhibit A correspond to files produced from Rimini’s HRMS Delivered Objects folder.1

 3   However, for many requests directed to Exhibit A, Rimini cannot respond given the extreme

 4   burden and overbreadth associated with Oracle’s Exhibit A.

 5

 6                                                RESPONSES

 7                   REQUEST NO. 25:

 8            Admit that each Environment identified in Your responses to Interrogatories No. 20 and 21

 9   as containing Siebel-branded Oracle Enterprise Software embodied more than a de minimis or trivial

10   amount of protectable expression from at least one of the Registered Works.

11                   RESPONSE:

12            Subject to and without waiver of the foregoing general objections, Rimini admits that each
13   Environment identified in its response to Interrogatories No. 20 and 21 as containing Siebel-branded
14   Oracle Enterprise Software embodied more than a trivial amount of protectable expression from at
15   least one of the Registered Works.
16                   REQUEST NO. 26:
17            With respect to Your written and electronic requests that Oracle ship software to a Rimini
18   Street address, admit that more than 50% of the requests asked Oracle to ship the software to an
19   “offsite backup location.”
20                   RESPONSE:
21            Subject to and without waiver of the foregoing general objections, Rimini responds: Admitted.
22                   REQUEST NO. 27:
23            Admit that, at least once, You instructed a Rimini Street customer or prospective Rimini Street
24   customer to state that software was to be shipped to an “offsite backup location” when that customer or
25   prospective customer requested that Oracle ship software to a Rimini Street address.
26
     1
27       Rimini notes that Exhibit A includes duplicate entries for numerous files. In responding, Rimini
              considers these duplicate entries to correspond to only one actual file in the HRMS
28            Delivered Objects folder.
                                                       -4-
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 1   acts of copying Oracle Software and Support Material into the indicated file locations in 2007.

 2   Rimini objects to this request to the extent it relates to information not in Rimini’s custody or

 3   control. Rimini did not maintain records regarding each such action contemplated by this request.

 4   Therefore, Rimini cannot admit or deny this request given its overbreadth and the lack of

 5   available information.

 6                  REQUEST NO. 63:

 7           Admit that, in 2010, Rimini Street only copied Oracle Software and Support Material into

 8   the Internal Software Libraries when no copy of that material was already present in the Internal

 9   Software Libraries.

10                  RESPONSE:
11           Subject to and without waiver of the foregoing general objections, Rimini denies copying
12   Oracle software or support materials into the network locations indicated by this request in 2010.
13                  REQUEST NO. 64:
14           Admit that, in 2011, Rimini Street only copied Oracle Software and Support Material into
15   the Internal Software Libraries when no copy of that material was already present in the Internal
16   Software Libraries.
17                  RESPONSE:
18           Subject to and without waiver of the foregoing general objections, Rimini denies copying
19   Oracle software or support materials into the network locations indicated by this request in 2011.
20                  REQUEST NO. 65:
21           Admit that, in 2006, Rimini Street built the majority of local Environments created by
22   Rimini Street using Oracle Software and Support Material that was present in the Internal
23   Software Libraries.
24                  RESPONSE:
25           Rimini objects to the phrase “created by Rimini Street using Oracle Software and Support
26   Material that was present in the Internal Software Libraries” as vague and ambiguous.            In
27   responding, Rimini interprets this phrase to mean “created by Rimini Street using the copies of
28   Oracle Software and Support Material stored in the Internal Software Libraries.”
                                                    - 18 -
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 1           Subject to and without waiver of the foregoing general and specific objections: Denied.

 2                  REQUEST NO. 66:

 3           Admit that, in 2007, Rimini Street built the majority of local Environments created by

 4   Rimini Street using Oracle Software and Support Material that was present in the Internal

 5   Software Libraries.

 6                  RESPONSE:

 7           Rimini objects to the phrase “created by Rimini Street using Oracle Software and Support

 8   Material that was present in the Internal Software Libraries” as vague and ambiguous.             In

 9   responding, Rimini interprets this phrase to mean “created by Rimini Street using the copies of

10   Oracle Software and Support Material stored in the Internal Software Libraries.”

11           Subject to and without waiver of the foregoing general and specific objections: Denied.

12                  REQUEST NO. 67:
13           Admit that, in 2008, Rimini Street built the majority of local Environments created by
14   Rimini Street using Oracle Software and Support Material that was present in the Internal
15   Software Libraries.
16                  RESPONSE:
17           Rimini objects to the phrase “created by Rimini Street using Oracle Software and Support
18   Material that was present in the Internal Software Libraries” as vague and ambiguous.             In
19   responding, Rimini interprets this phrase to mean “created by Rimini Street using the copies of
20   Oracle Software and Support Material stored in the Internal Software Libraries.”
21           Subject to and without waiver of the foregoing general and specific objections: Denied.
22                  REQUEST NO. 68:
23           Admit that, in 2009, Rimini Street built the majority of local Environments created by
24   Rimini Street using Oracle Software and Support Material that was present in the Internal
25   Software Libraries.
26                  RESPONSE:
27           Rimini objects to the phrase “created by Rimini Street using Oracle Software and Support
28   Material that was present in the Internal Software Libraries” as vague and ambiguous.             In
                                                    - 19 -
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 1   responding, Rimini interprets this phrase to mean “created by Rimini Street using the copies of

 2   Oracle Software and Support Material stored in the Internal Software Libraries.”

 3           Subject to and without waiver of the foregoing general and specific objections: Denied.

 4                  REQUEST NO. 69:

 5           Admit that, in 2010, Rimini Street built the majority of local Environments created by

 6   Rimini Street using Oracle Software and Support Material that was present in the Internal

 7   Software Libraries.

 8                  RESPONSE:
 9           Rimini objects to the phrase “created by Rimini Street using Oracle Software and Support
10   Material that was present in the Internal Software Libraries” as vague and ambiguous.             In
11   responding, Rimini interprets this phrase to mean “created by Rimini Street using the copies of
12   Oracle Software and Support Material stored in the Internal Software Libraries.”
13           Subject to and without waiver of the foregoing general and specific objections: Denied.
14                  REQUEST NO. 70:
15           Admit that, in 2011, Rimini Street built the majority of local Environments created by
16   Rimini Street using Oracle Software and Support Material that was present in the Internal
17   Software Libraries.
18                  RESPONSE:
19           Rimini objects to the phrase “created by Rimini Street using Oracle Software and Support
20   Material that was present in the Internal Software Libraries” as vague and ambiguous.             In
21   responding, Rimini interprets this phrase to mean “created by Rimini Street using the copies of
22   Oracle Software and Support Material stored in the Internal Software Libraries.”
23           Subject to and without waiver of the foregoing general and specific objections: Denied.
24                  REQUEST NO. 71:
25           Admit that, in 2006, at least 90% of the Oracle Software and Support Material in the
26   Internal Software Libraries that was used to build local Environments created by Rimini Street
27   was not organized or segregated by client.
28                  RESPONSE:
                                                    - 20 -
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 1                 REQUEST NO. 249:

 2           Admit that, in 2011, Rimini Street used one or more of the environments identified as

 3   items 1-32 on Exhibit C to create the majority of DAT files generated by Rimini Street.

 4                  RESPONSE:

 5           Subject to and without waiver of its general objections: Admitted.

 6                 REQUEST NO. 250:

 7           Admit that, in 2011, Rimini Street used one or more of the environments identified as

 8   items 1-32 on Exhibit C to create the majority of DAT files received from Rimini Street by each

 9   of Rimini Street’s then-current customers.

10                  RESPONSE:
11           Subject to and without waiver of its general objections: Admitted.
12

13

14    DATED:         January 4, 2012          SHOOK, HARDY & BACON
15

16                                            By:     /s/ Robert H. Reckers
                                                     Robert H. Reckers, Esq.
17                                                   Attorney for Defendants
                                                     Rimini Street, Inc. and Seth Ravin
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 1                                    CERTIFICATE OF SERVICE

 2           I hereby certify that the foregoing Defendant’s First Amended Responses and Objections

 3   to Plaintiffs’ Third Set of Requests for Admissions was served on the 4th day of January, 2012,

 4   via email, as indicated below.

 5
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19
                                               By: /s/ Ryan Dykal_______
20

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          EXHIBIT 8
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          EXHIBIT 9
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          EXHIBIT 10
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          EXHIBIT 11
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          EXHIBIT 12
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          EXHIBIT 14
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          EXHIBIT 15
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          EXHIBIT 16
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          EXHIBIT 20
      FILED UNDER SEAL
